      Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 1 of 8 PAGEID #: 1



                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


UNITED STATES OF AMERICA,                               Case No. 1:18-CV-359

                          Plaintiff,
                                                        JUDGE
                      v

TWENTY.FOUR THOUSAND                                    VERIFIED COMPLAINT FOR
DOLLARS IN UNITED STATES                                FORFEITURE IN REM
CURRENCY ($24,000.00),

                          Defendant.



       Plaintiff, United States of America, by its undersigned counsel, alleges the following for

its action against the defendant in accordance with Supplemental Rule G(2) of the Federal Rules

of Civil Procedure.

                                       NATURE OF THE ACTION

        1.     This is a civil action in rem brought to enforce    2l   U.S.C. $ 881(aX6), which

provides for the forfeiture to the United States of:

               All  moneys, negotiable instruments, securities, or other things of value
               furnished or intended to be furnished by any person in exchange for a
               controlled substance or listed chemical in violation of this subchapter, all
               proceeds traceable to such an exchange, and all moneys, negotiable
               instruments, and securities used or intended to be used to facilitate any
               violation of this subchapter.

                                       THE DEFENDANT IN REM

        2.     The defendant is Twenty-Four Thousand Dollars in United States Currency

($24,000.00) ("defendant currency"). On or about January 4, 2018, the Drug Enforcement

Administration seized the defendant currency, from a vehicle operated by Perez Keith, in the

parking lot of the Belle Tower Apartments, located at 631Woodlawn Avenue, Hamilton, Ohio.
      Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 2 of 8 PAGEID #: 2



The United States has deposited the defendant currency into the Seized Asset Deposit Fund, where

it will remain during the pendency of this action.

                                JURISDICTION AND VENUE

       3.      Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendant currency pursuant to 21 U.S.C. $ 881(a)(6). This Court has jurisdiction over an action

commenced by the United States under 28 U.S.C. $ 1345 and over an action for forfeiture under

28 U.S.C. $ 13ss(a).

       4.      This Court has in rem juisdiction over the defendant currency pursuant to             28

U.S.C. $ 1355(bXl)(A) because acts and omissions giving rise to the forfeiture occurred in the

Southem District of Ohio.

       5.      Venue is proper in this district pursuant to 28 U.S.C. $ 1355(b)(1XA) because acts

and omissions giving rise to the forfeiture occurred in the Southern District of Ohio and pursuant

to 28 U.S.C. $ 1395 because the defendant currency was found in the Southern District of Ohio.

                                  BASIS FOR FORFEITURE

       6.      The defendant currency is subject to forfeiture pursuant to    2l   U.S.C. $ 881(aX6)

because the defendant currency represents property furnished or intended to be furnished by any

person in exchange for a controlled substance, represents proceeds traceable to such an exchange,

or was used or intended to be used to facilitate any violationof   2l U.S.C. $ 841 or a conspiracy   to

commit such offense in violation of 21 U.S.C. $ 846.

                                             FACTS

       7   .   The Drug Enforcement Administration     ("DEA")     and the Butler County Undercover

Regional Narcotics Unit ("BURN") are investigating cocaine distribution activities            in the
Hamilton, Ohio area and elsewhere. Law enforcement officers have identified Perez Keith and


                                                 2
        Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 3 of 8 PAGEID #: 3



Brian Goolsby as individuals involved in the distribution of cocaine.

         8.      In December 2016, and January 2017, BURN agents received information from

several cooperating sources of information ("SOIs") that Perez Keith is a source of supply           of

cocaine   in   Hamilton, Ohio, and the surrounding areas. The SOIs advised that they have

personally seen Perez Keith with multiple kilograms of cocaine and have purchased cocaine from

him.

         9.      On or about January 4,2018, DEA Task Force Agent ("TFA") Timothy Andrews,

along with BURN agents, conducted surveillance on Perez Keith in the area of South Seventh

Street and fugdon Street in Hamilton,   Ohio. Officers knew thatPerez Keith used a white Lincoln

Navigator.

         10.     During the course of surveillaflce, a BURN agent observed the white Lincoln

Navigator, leaving the area of Goolsby Trucking, LLC ("Goolsby Trucking"), which is a business

known to be involved in narcotics trafficking. Brian Goolsby is the owner and registered agent

of Goolsby Trucking.

         11.     A uniformed officer of the Butler County Sheriff s Office conducted   a   traffic stop

on the Lincoln Navigator for   speeding. The vehicle, which was operated by Perez Keith, stopped

in the parking lot of the Belle Tower Apartments, located at 631 Woodlawn Avenue, Hamilton,

Ohio.

         12.     Upon coming to a stop, Perez Keith immediately exited the vehicle. The officer

directed Perez Keith    to get back into his vehicle. After Perez Keith complied, the officer

approached the vehicle on the passenger side and advised Keith of the reason for the stop, that is,

Keith was traveling 36 mph in a25 mph zone in     a   residential area.

         13.     As requested, Perez Keith provided his driver's license and proof of insurance,


                                                 J
        Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 4 of 8 PAGEID #: 4



which confirmed his identity. The officer observed thatPerez Keith appeared nervous and that

his heartbeat could be seen through his   shirt.   Perez Keith advised that he was on his way to his

mother's apartment.

         14.     Based on Perez Keith's suspicious behavior and his history of carrying a concealed

weapon, the officer requested that Keith step out of the vehicle and proceed to the area of the hood,

where the officer patted down Keith for   weapons. During      the pat down, the   officer did not locate

any weapons.

         15.    After the officer determined that Perez Keith had something in his right front pants

pocket, Keith gave the officer verbal consent to search his person. In Perez Keith's right front

pants pocket, the officer found approximately $1,300.00 in U.S.    currency.   Perez Keith explained

that the money was from his taxes at which time the officer returned the money to Keith.

         16.     Perez Keith, who was the only occupant of the Lincoln Navigator, gave verbal

consent for officers to search the   vehicle. The vehicle is registered to Perez Keith's wife, who

was not present at the scene.

          17.   An officer used a drug deiection canine to conduct an open air sniff of the Lincoln

Navigator. The trained canine showed a positive alert on the driver      and passenger side doors      of

the   vehicle. An officer advised Perez Keith of his findings   and advised Keith that he was going

to search the vehicle.

         18. At that time, officers conducted       a search of the vehicle. Under the rear seat,

officers found a white plastic Menard's shopping        bag.   Inside the bag was a second plastic

Menard's shopping bag, which contained an unknown amount of currency.

          19.    TFA Andrews seized the currency and later leamed that the currency totaled

$31,000.00, which was in the following denominations.


                                                   4
       Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 5 of 8 PAGEID #: 5




               DENOMINATION                                             QUANTITY

 $100                                                    67

 $s0                                                     28

 $20                                                     1,040

 $10                                                     191


 $s                                                      38


        20.     Narcotics trafficking is a cash business. As indicated above, the majority of the

currency was in small denominations, which is consistent with street-level narcotics trafficking.

A kilogram of cocaine costs approximately $31,000.00.

        21.     After the officers completed the search, an officer advised Perez Keith that he was

going to issue a written warning to Keith for speeding,thathe was going to seize the currency, and

that Keith would be given a written receipt for the cuffency.

        22.      Perez Keith advised officers that the seized culrency did not belong to him; rather,

the money belonged to Goolsby         Trucking. Keith     stated that he was going to deposit the money

at U.S. Bank or First Financial      Bank.   The officer noted that the bag, in which the money was

found, did not contain any deposit slips or other paperwork associated with Goolsby Trucking.

        23.      During the traff,rc stop, officers observed Brian Goolsby arrive at the Belle Tower

Apartments, where he stood with Perez Keith's mother under the awning of the apartment complex

and observed the traffic stop.

        24.      Perez Keith told officers that he contacted Goolsby by cell phone as the officer

initiated the traffic   stop.   Brian Goolsby did not approach the officers during the traffic stop and

assert that the currency belonged to Goolsby Trucking or to him.

        25.      After the completion of the stop, officers retumed to the Butler County Undercover


                                                     5
      Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 6 of 8 PAGEID #: 6




Regional Narcotics Office where an officer put the seized currency in a cardboard parcel and

placed the cardboard parcel among similar parcels in a secure     area. An officer,   who did not know

where the seized curency was placed, conducted an open air sniff of the parcels with his drug

detection canine. The canine showed a passive alert to the parcel which contained the seized

curTency.

       26.     TFA Andrews placed his wallet, which contained currency, in one of the parcels.

An officer, who did not know where the wallet was placed, conducted an open air sniff of the

parcels with his drug detection   canine. The canine did not alert to any of the parcels.

       27.     In or about April 2018, a source of information stated to a law enforcement officer

that Brian Goolsby provided him/her with 2-3 ounces of cocaine.

       28.     Brian Goolsby submitted     a   claim to the DEA, asserting an interest in $24,000.00 of

the $31,000.00 that was seized. In has administrative claim, Goolsby stated that he gave Perez

Keith $24,000.00 in cash for the purchase of real estate in Hamilton County, Ohio.

       29.     Law enforcement officers have conducted surveillance in the area of Goolsby

Trucking in Hamilton,   Ohio.     During surveillance, officers observed multiple dump trucks at the

business, but the trucks did not appear to be involved in much activity.

       30.     Perez Keith has a criminal history, which includes but is not limited to, convictions

in Butler County for possession of drugs and trafficking in drugs in September 2008, and                a


conviction in Butler County for carrying a concealed weapon in April 1999.

       31.     Brian Goolsby has a criminal history, which includes but is not limited to,              a


conviction for aggravated assault in November 2000 and a conviction in Butler County for felony

drug abuse in November 2000.

        32. By reason of the facts set forth herein, the defendant               currency   is   properly


                                                     6
         Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 7 of 8 PAGEID #: 7




condemned and forfeited to the United States pursuant to     2l U.S.C. $ 881(a)(6).

                                       CLAIM FOR RELIEF

          WHEREFORE, the plaintiff respectfully requests that:

          (a)    pursuant to Rule G(3XbXi), Supplemental Rules, the Clerk issue a warrant of arrest

in rem, directing the United States to arrest and seize the defendant currency and to retain the same

in its custody subject to further order of the Court;

          (b)    the Court, pursuant to Rule G(4), Supplemental Rules, direct the United States to

give notice to all persons and entities having an interest in the defendant currency to assert in

conformity with the law a statement of any interest they may have, including notice by publication

on the   official govemment website, www.forfeiture.gov, for 30 consecutive days;

          (c)    the forfeiture of the defendant currencyto the United States be confirmed, enforced,

and ordered by the Court;

          (d)    the Court thereafter order the United States to dispose of the defendant currency as

provided by law; and

          (e)    the Court award the United States all other relief to which it is entitled, including

the costs of this action.

                                                        Respectfully submitted,

                                                        BENJAMIN C. GLASSMAN
                                                        United States Attorney

                                                        s/Deborah D. Grimes
                                                        DEBORAH D. GRTMES (0078698)
                                                        Assistant United States Attomey
                                                        Attomey for Plaintiff
                                                        221East Fourth Street, Suite 400
                                                        Cincinnati, Ohio 45202
                                                        (513) 684-37tr lFax (s13) 684-6385
                                                        Deborah. Grimes@usdoj gov .




                                                   7
       Case: 1:18-cv-00359-SJD Doc #: 1 Filed: 05/24/18 Page: 8 of 8 PAGEID #: 8



                                              YERIFICATION

           I, Timothy   J- Andrews, hereby   verifu and declare under the penalty of perjury that I am a

Task Force Agent with the Drug Enforcement Administration, that              I have read the foregoing
Verified Complaint for Forfeiture in rem and know the contents thereof, and that the matters

contained in the complaint are true to my own knowledge, except that those matters stated to be

alleged on information and belief and as to those maffers, I believe them to be true.

           The sources of my knowledge and infomation and the grounds ofmy belief are the official

files and records of the United States, infonnation supplied to me by other iaw enforcement

officers, and my investigation of this case.

           I hereby verifu and declare under the penalty of perjury that the foregoing is true and
correct.




Dated 5'23'Zorg                                     ---'-'
                                                       IFA
                                                      IIMOTHY     J               Task Force Agent
                                                     Drug Enforcement




                                                      I
JS   44    (Rev. 06/17)        Case: 1:18-cv-00359-SJD Doc #:COVER
                                                     CIVIL    1-1 Filed:SHEET
                                                                         05/24/18 Page: 1 of 1 PAGEID #: 9
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by |aw, except as
providedbylocal rulesofcourt. Thisform,approvedbytheJudicialConfi:renceofth6iJnitedStatesinSeptemberlgT4',isrequiredforthe'uieoftheClerkofCourtforth'e
purpose of initiating the civil docket sheet. (sqt, INSTRU(:TI)NS oN NEXT pAGE oF THIS F)RM.)

I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
United States of America                                                                                                  Twenty-Four Thousand Dollars in United States Currency
                                                                                                                          ($24,000.00)
      (b)    County of Residence of First Listed Plaintiff Hamilton                                                        County of Residence of First Listed Defendant Hamilton
                                (EXCEPT IN U.S. PLAINT|FF CASES)                                                                                              (IN U.S. PLA]NTIFF CASES ONLY)
                                                                                                                            NOTE:        IN LAND CONDEMNATION CASES, USE T1IE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.

      (C) Attomeys        1f.trm h'ana, AJdr.':t. qnd lt'lt'phont'Numherl                                                    Attomeys (lf    Known)
Deborah D. Grimes, Assistant United States Attorney
221 E. Fourth Street, Suite 400
Cincinnati, Ohio            45202
                             (513) 684-3711

II.    BASIS OF JURISDICTION fi'r".a an "X"                              tn one Box onty)                    III. CITIZENSHIP                 OF PRINCIPAL PARTIES                              1eto,"   o, "X" in one Boxfor      PtarntilJ
                                                                                                                                     Only)
                                                                                                                        (For Diversrty Cases                    md One Box for Defendant)
X t        U.S. Govemment                 O3         Federal Question                                                                   PTF DEF                                PTF DEF
             Plaintiff                                 ((1.5. Govemment Nol a Party)                              CitizenofThisState    Ol  O I lncorporatedorPrincipalPlace A4         J4
                                                                                                                                                                              of Business [n This State

O2         U.S. Govemment                 O    4     Diversity                                                    Citizen ofAnother     State        I   2       A 2       Incorporated andPrincipal Place              a5         D5
             Defendmt                                  (lndicate Citizenship ofParties in hem III)                                                                            ofBusiness In Another State

                                                                                                                  Citizen or Subject of a            D3          D 3       Foreign Nation                               D 6 A6

IV. NATURE OF                   SUIT                an "X" in One Box                                                                                             Click here for:
                                                                          TftRTS                                                                                   RANK-RI'PT'Y                          r)THF',I

D    I l0 Insurance                        PERSONAL INJURY                          PERSONAL INJURY               X   625 Drug Related Seiare            O     422 Appeal 28 USC 158             O    375 Falre Claims Act
O    120 Marine                          O 310 Airplane                       fl   365 Personal Injury -                  of Property 2 I USC 88 I       fl    423 Withdrawal                    O    376 Qui Tm (31 USC
O    130 Miller Act                      O 315 Airplane hoduct                         Product Liability          D   690 Other                                    28 USC I 57                            372e(a))
D    140 Negotiable lnstrument                      Liability                 O    367 Health Care/                                                                                              D    400 State Reapportionment
D    150 Recovery of Overpayment         O    320 Assault, Libel &                       Phamaceutical                                                                                           O 4l0Antitrust
           & Enforcement of Judgment              Slander                                Personal Injury                                                 D     820 Copyrights                    il   430   Bmks md Bmking
C,   l5l MedicareAct                     O    330 Federa.l Employers'                  Producl Liability                                                 O     830 Patent                        D    450   Comerce
0    152 Recovery of Defaulted                      Liability                 fl   368 Asbestos Personal                                                 D     835 Patent - Abbreviated          D    460 Deportation
         Student Loms                    O    340 Marine                                 Injury hoduct                                                               New Drug Application        B    470 Racketeer lnfluenced and
         (Excludes Veterms)              O    345 Marine Product                         Liability                                                       D     840 Trademrk                               Corupt Organizations
0    153 Recovery of Overpayment                    Liability                      PERSONAL PROPERTY                            I,ABOR                         SOCIAI, SECIIRITY                 O    480 Consumer Credit
         of Veteran's Benefits           O    350 Motor Vehicle               O    370 Other Fraud                O   710 Fair Labor Standards           o     861 HrA(1395tr)                   fl   490 Cable/Sat TV
o    160 Stockholders' Suits             O    355 Motor Vehicle               O    371 Truth in Lending                   Act                            D     862 Black Lung (923)              tr   850 SecuritieVComodities/
o    190 Other Contract                           Product Liability           O    380 C)ther Personal            D   720 Labor,Mmagement                o     863 DIwC/DIww (40s(g))                       Exchmge
o    195 Contract Product   Liability    3    360 Other Personal                       Property Damage                    Relations                      O     864 SSID Tille XVI                O    890 Other Statutory Actions
o    t96 Franchise                                  Injury                    O 385PropertyDamage                 D   740 Railway Labor Act              o     86s RSI (405(9))                  O    891 Agdcultural Acts
                                         O    362 Pesonal Injury -                       Product Liability        O   751 Family and Medical                                                     O    893 Enviromental Matters
                                                    Medical Malpractice                                                   Leave Act                                                              O    895 Freedom of lnfomation
                                               CIVII, RICHTS                                                      O   790 Other Labor Litigation               FEDERAI, TAX SIIITS                          Act
O 2l0LandCondemnation                    D    440   Other Civil Rights             Habms Corpus:                  O   791 Employee Retirement            D                 Plaintiff
                                                                                                                                                               870 Taxes (U.S.                   O    896 Arbitration
D    220   Foreclosure                   D    441   Voting                    O    463 Alien Detainee                     Income Security Act                     or Defmdmt)                    O    899 Administrative Procedure
O    230   Rent Lease & Ejectment        O    442 Employment                  D    510 Motions to Vacate                                                 D     871   IRS   ThirdParty                       Act/Review or Appeal of
D    240   Torts to Lmd                  D    443 Housing/                               Sentence                                                                    26 USC 7609                          Agency Decision
A    245   Ton Product Liability                  Accommodations              D    530 General                                                                                                   O    950 Constitutionality   of
il   290   All Other Real Property       fl   445 Amer. w/Disbilities -       D    535 Death Penalty                      INIMI(;RATION                                                                     State Statutes
                                                  Employment                       0ther:                         O   462 Naturalization Application
                                         O    446 Amer. w/Disbilities -       O    540   Mmdmus & Other           D   465 Other Immigration
                                                  Other                       D    550   Civil tughts                     Actions
                                         O    448 Education                   O    555   Prison Condition
                                                                              O    560   Civil Detainee -
                                                                                         Conditions of
                                                                                         Confinement

V. ORIGIN (Place an "X" in one Box only)
I t Original    fl 2 Removed from                                O3          Remanded from                   D4   Reinstated or         fl 5 Transferred  from             O    6    Multidistrict             D8    Multidistrict
    Proceeding State Court                                                   Appellate Court                      Reopened                     Another District                      Litigation -                    Litigation -
                                                                                                                                                                                     Transfer                        Direct File
                                               Cite the U.S. Civil Statute under which you are                             not cile jurisdictioilal slotutes   unlss   diversity)

VI.        CAUSE OF ACTION                     Brief description of        cause
                                                Forfeiture
VII.        REQUESTED IN                       0      cuEcr IF THrs rs A CLASS ACTIoN                                 DEMAND        S                                   CHECK YES onty if demanded in complaint:
     COMPLAINT:                                       UNDER RULE 23, F.R.Cv.P.                                                                                          JURY        DEMAND: tr Yes XNo
VIII. RELATED CASE(S)                               (See instmctions):
      IF ANY                                                                  JUDGE                                                                            DOCKET NUMBER
DATE                                                                                SIGNATURE OF A'                   Y OF RECORD




     RECEIPT #                       AMOUNT                                              APPLYING IFP                                       JUDGE                                    MAG. ruDGE
